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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In Re: ADA Cases                                            Case No: 6:18-mc-14-Orl-31DCI



                                            ORDER
       On June 25, 2018, attorneys Philip Michael Cullen, III, Joshua H. Sheskin, Alfredo Garcia-

Menocal, and Anthony J. Perez filed the following motions, respectively:

                Motion to be Excused from Participating in Court Proceedings Filed on
                 Behalf of Michael Cullen, III (Doc. 23)

                Motion to be Excused from Participating in Court Proceedings from July
                 20th – 30th 2018 Filed on Behalf of Joshua Sheskin (Doc. 24)

                Motion to be Excused from Participating in Court Proceedings Filed on
                 Behalf of Alfredo Garcia-Menocal (Doc. 25)

                Motion to be Excused from Participating in Court Proceedings Filed on
                 Behalf of Anthony J. Perez (Doc. 26).

(collectively the Motions). Each of these Motions asks the Court to excuse the subject of the

motion from participating in Court proceedings for a period of time due to pre-planned vacations.

See Docs. 23; 24; 25; 26.

       Although couched as motions, the Motions are in essence notices of unavailability. But

the Court does not recognize notices of unavailability. As such, the Motions are due to be denied.

However, in the event that a conflict arises based upon the attorneys’ pre-planned vacations, the

attorneys may request an extension of time to the extent that the requested extension is supported

by good cause.
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       Accordingly, it is ORDERED that the Motions (Docs. 23; 24; 25; 26) are DENIED

without prejudice.

       DONE and ORDERED in Orlando, Florida on June 28, 2018.




Copies furnished to:
Counsel of Record




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